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 Attorneys for Plaintiffs, AVT – New York,
 L.P.

                      IN THE UNITED STATES DISTRICT COURT
                       DISTRICT OF UTAH, CENTRAL DIVISION

 AVT – NEW YORK, L.P., a Utah limited             COMPLAINT
 partnership,

        Plaintiff,
 v.

 OLIVET UNIVERSITY, a California
 corporation,                                     Case No.: 2:18-cv-00782

        Defendant.                                Honorable Brook C. Wells


       Plaintiff AVT - New York, L.P., by and through its undersigned counsel, hereby

complains against Defendant Olivet University as follows:

                                           PARTIES

       1.      Plaintiff AVT - New York, L.P. (formerly known as TFG - New York, L.P.,

“AVT”) is a Utah limited partnership with its principal place of business in Salt Lake County,

Utah. AVT has only two partners, AVT Holdings, Inc., a Utah corporation with its principal

place of business in Salt Lake County, Utah, and Avtech Capital, LLC, a Utah limited liability
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company, with its principal place of business in Salt Lake County, Utah. The members of

Avtech Capital, LLC are five Utah limited partnerships with their principal places of business in

Salt Lake County, Utah, and all partners of the limited partnerships are either Utah corporations

based in Utah or individual residents and citizens of the State of Utah.

       2.      Defendant Olivet University (“Olivet” or “Defendant”) is a California

corporation, with its principal place of business in Riverside County, California.

                                 JURISDICTION AND VENUE

       3.       This Court has subject matter jurisdiction under 28 U.S.C. § 1332 because there

is complete diversity of citizenship between AVT and Olivet, and the amount in controversy

exceeds $75,000, exclusive of interest and costs, and under 28 U.S.C. § 1367.

       4.      This Court has personal jurisdiction over the Olivet because it has transacted

business in the State of Utah in connection with the subject matter of this Complaint and because

it has caused harm to AVT in the State of Utah.

       5.      Additionally, Olivet has consented to jurisdiction in the State of Utah.

       6.      Olivet is thus subject to jurisdiction in this state pursuant to Utah’s long arm

statute, Utah Code Ann. § 78B-3-205(1) and (3), and it has sufficient minimum contacts to

satisfy the due process clause of the United States Constitution.

       7.      Venue is proper in this district under 28 U.S.C. § 1391(a) and (b), as a substantial

part of the events giving rise to the claims occurred in this District.

       8.      Additionally, Olivet has consented to venue in Utah.

                                   GENERAL ALLEGATIONS

       9.      AVT is an equipment leasing company.



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       10.      AVT, as Lessor, entered a Master Lease Agreement No. 2046801, dated

September 28, 2016 (the “Master Lease”) with Olivet, as Lessee.

       11.      Pursuant to the Master Lease, Olivet entered into several separate lease schedules,

including the following (collectively, the “Lease Schedules” and together with the Master Lease,

the “Lease”), pursuant to which AVT leased to Olivet certain equipment (described in the Lease

as the “Leased Property”):

             a. Amended and Restated Lease Schedule No. OLVT_003, dated February 13, 2017,

for Leased Property with an original cost of $789,090.24 (“Lease Schedule No. 003”).

             b. Amended and Restated Lease Schedule No. OLVT_005, dated January 31, 2017,

for Leased Property with an original cost of $1,902,175.24 (“Lease Schedule No. 005”).

             c. Amended and Restated Lease Schedule No. OLVT_007, dated Marcy 8, 2017, for

Leased Property with an original cost of $1,288,791.80 (“Lease Schedule No. 007”).

             d. Amended and Restated Lease Schedule No. OLVT_008, dated April 18, 2017, for

Leased Property with an original cost of $368,000.00 (“Lease Schedule No. 008”).

             e. Lease Schedule No. OLVT_009, dated February 8, 2017, for Leased Property

with an original cost of $998,000.00 (“Lease Schedule No. 009”).

       12.      By agreement, AVT sold and assigned certain rights under the Lease Schedules to

various banks and other financial institutions. Pursuant to that agreement, AVT was designated

servicer and agent to, among other things, take all actions to enforce the Lease Schedules and all

available rights and remedies under the Lease.

       13.      Beginning with the payment due on June 1, 2018, Olivet breached the Lease by

failing to make the regular rent payments as required by the Lease.



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       14.       By failing to timely make the regular rent payments required under the Lease,

Olivet is in material default under the Lease.

       15.       AVT has given notice, orally and in writing, to Olivet that it is in material breach

of the Lease, but Olivet has not cured its breach and remains in material default under the Lease.

       16.       The Lease provides that the Leased Property shall at all times remain the property

of the Lessor.

       17.       The Lease provides that, upon the occurrence of an event of default, the Lessor

may declare immediately due and payable all amounts due or to become due under the Lease.

       18.       The Lease also provides that, upon the occurrence of an event of default, the

Lessor may repossess the Leased Property.

       19.       Despite Olivet’s material and ongoing breach of the Lease, Olivet has not

returned the Leased Property to AVT as required by the Lease.

                                   FIRST CAUSE OF ACTION
                                      (Breach of Contract)

       20.       AVT re-alleges and incorporates the foregoing paragraphs.

       21.       The Lease constitutes a valid and binding contract between AVT and Olivet.

       22.       AVT has fulfilled all of its obligations under the Lease.

       23.       Olivet has breached its obligations under the Lease by failing to make all

payments due under the Lease.

       24.       As a direct and proximate result of Olivet’s default under the Lease, AVT has

been damaged in an amount to be proven at trial not less than $4,896,128.84, plus default

interest, applicable taxes, attorney fees and costs, together with such other and further relief as

shall be just and proper.


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                                SECOND CAUSE OF ACTION
                   (Breach of the Covenant of Good Faith and Fair Dealing)

       25.      AVT re-alleges and incorporates the foregoing paragraphs.

       26.      The Lease contains an implied covenant that each party would act in good faith

towards each other so that each party could enjoy the full benefits of the contractual relationship.

       27.      As alleged above, Olivet has willfully acted unfairly and breached the implied

covenant of good faith and fair dealing.

       28.      As a result of Olivet’s breach of the duty of good faith and fair dealing, AVT has

been damaged in an amount to be proven at trial not less than $4,896,128.84, plus default

interest, applicable taxes attorney fees and costs, together with such other and further relief as

shall be just and proper.

                     THIRD CAUSE OF ACTION CAUSE OF ACTION
                                 (Writ of Replevin)

       29.      AVT re-alleges and incorporates the foregoing paragraphs as though fully set

forth herein.

       30.      As a result of Olivet’s default, AVT is entitled to a writ of replevin immediately

returning the Leased Property to AVT.

       31.      AVT is entitled to possession of the Leased Property because AVT owns the

Leased Property by virtue of its having paid for it, and pursuant to the Lease.

       32.      Pursuant to the Master Lease, AVT is entitled to take possession of the Leased

Property and/or require Olivet to return the Leased Property to AVT.

       33.      Olivet has wrongfully detained and continues to wrongfully detain the Leased

Property.



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          34.   Olivet has indicated its unwillingness to return the Leased Property, despite its

obligation to do so.

                               FOURTH CAUSE OF ACTION
                   (Foreclosure of Security Interests on All Assets of Olivet)

          35.   AVT repeats and re-alleges the preceding allegations.

          36.   As set forth above, Olivet has breached its obligations under the Lease and is in

default thereunder.

          37.   The Lease provides that upon the occurrence an event of default, Olivet granted to

AVT a lien against all assets of Olivet.

          38.   As set forth above and in accordance with the Lease, following Olivet’s default

and refusal to cure the default AVT filed a UCC-1 Financing Statement covering all assets of

Olivet.

          39.   Olivet has refused to cure its breach of the Lease and remains in default

thereunder.

          40.   AVT is entitled to a judgment and decree of foreclosure of its lien against all

assets of Olivet, and to enforce its security interest in such assets by taking immediate possession

thereof.

                                     PRAYER FOR RELIEF

          WHEREFORE, AVT - New York, L.P. prays for relief as follows:

          1.    For damages to be proven at trial determined at trial not less than $4,896,128.84,

plus default interest, applicable taxes and costs for the First and Second Causes of Action;




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          2.     For a Writ of Replevin, and the entry of an immediate pre-judgment Order of

Replevin requiring the immediate return of the Leased Property to AVT, for the Third Cause of

Action;

          3.     For a judgment and decree of foreclosure on AVT’s lien against all assets of

Olivet, for the Fourth Cause of Action;

          4.     For attorney fees and costs as allowed by the parties’ contracts and by law;

          5.     For interest as allowed by the parties’ contracts and by law; and

          6.     For such other and further relief as the Court deems just and proper.

          DATED this 5th day of October, 2018.

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                                               Kennedy D. Nate
                                               Brian E. Lahti
                                               Attorneys for Plaintiff AVT – New York, L.P.




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